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                                                         JUDGE DAVID GUADERRAMA
                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION
 UNITED STATES OF AMERICA,                          §                                                29
                                                                            9fl   OCT 23   PM   2:

                                                    §
                                                                    SEALEff
           Plaintiff,
                                                    §       NO.EP-19-CR-
  V.




 JOSE ALEJANDRO VAQUERA,                            §

           Defendant.
                                                             E P 19 C R 3456
                                                ORDER

         On this date came on to be considered the Government's Motion to Seal the Indictment

in the above-entitled and numbered cause and the Court having considered the same is of the

opinion that said Motion should be granted.

         IT IS HEREBY ORDERED that the Indictment, and all related documents concerning

the above named defendant in the above numbered cause, be sealed except as otherwise provided

below;

         IT IS FURTHER ORDERED that all of the respective documents referred to above may

be unsealed at the time of the arrest of the Defendant for Defendant's appearance before this

Court pursuant to either Rule   5   or Rule 10, Fed. R. Crim. P.;

         IT IS FURTHER ORDERED that the Indictment, Motion and Order, and related

documents be SEALED by the Clerk, to be unsealed upon the arrest of the Defendant or until

further order of this Court.

         SIGNED and ENTERED this                     of             2019.




                                                          UNITED STATES MAGISTRATE JUDGE
